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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
    IN RE:
    Elaine M Dorsey fka                                  Chapter 13
    Elaine M Reynolds
                                                         Case No. 20-13825-mdc
                                         Debtor(s)

    Wells Fargo Bank, N.A.
                                         Movant
           v.
    Elaine M Dorsey fka
    Elaine M Reynolds

    and
    Kenneth E. West, Esquire
                                         Respondents

                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

           Wells Fargo Bank, N.A. (“Movant”) hereby moves this court, pursuant to 11 U.S.C. §362, for
   relief from the automatic stay with respect to certain real property of the Debtor(s) having
   an address of 435 Tulpehocken Avenue, Elkins Park, PA 19027 (the “Property), for all purposes
   allowed by the Note (defined below), the Mortgage (defined below), and applicable law, including
   but not limited to the right to foreclose. In further support of this Motion, Movant respectfully states:
   1.      A petition under Chapter 13 of the United States Bankruptcy Code was filed with respect to
           the Debtor(s) on 09/23/2020.
   2.      The Chapter 13 Plan was confirmed on 04/08/2021.
   3.      The Debtor(s) executed and delivered or is otherwise obligated with respect to that certain
           prime equity line of credit agreement & disclosure statement in the original principal amount
           of $94,150.00 (the “Note”). A copy of the Note is attached hereto as EXHIBIT A. Movant is
           an entity entitled to enforce the Note.
   4.      Pursuant to that certain Mortgage dated 02/09/2010, and recorded in the office of the county
           clerk of Montgomery County, Pennsylvania, (the “Mortgage”) all obligations (collectively, the
           “Obligations”) of the Debtor(s) under and with respect to the Note and the Mortgage are
           secured by the Property. A copy of the Mortgage is attached hereto as EXHIBIT B.
           Application to Merge Wachovia Bank, N.A with Wells Fargo Bank, N.A. dated March 20,
           2010 is attached hereto as EXHIBIT C.
   5.      A copy of the Loan Modification recorded 03/20/2015 is attached hereto as EXHIBIT D.
   6.      Wells Fargo Bank, N.A. services the loan on the Property referenced in this Motion. In the
           event the automatic stay in this case is modified, this case dismisses, and/or the Debtor(s)
           obtain/s a discharge and a foreclosure action is commenced on the mortgaged property, the
           foreclosure will be conducted in the name of Movant. Debtor(s) executed a Creditor’s home
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            equity line of credit agreement (the “Debt Agreement”) and agreed to be bound by its terms.
            The Debt Agreement is secured by a mortgage or deed of trust. Creditor is the original
            mortgagee/successor or beneficiary of the mortgage or deed of trust.
   7.       As of 05/02/2022, the outstanding amount of the Obligations less any partial payments or
            suspense balance is $138,592.12.
   8.       The following chart sets forth the number and amount of post-petition payments due pursuant
            to the terms of the Note that have been missed by the Debtor(s) as of 05/02/2022.
           # of Missed Pymts     From:                 To:             Monthly Pymt Amt   Total Missed Pymts:

           20                    09/24/2020            04/24/2022      $496.85            $ 9,937.00

           Less Post-Petition Partial Payments (Suspense Balance):                        ($) 0.00

           TOTAL:                                                                         $ 9,937.00

   9.       As of 05/02/2022, the total post-petition arrearage/delinquency is $9,937.00.

   10.      The estimated market value of the property is $280,200.00. The basis for such valuation is
            Debtor Schedule A/B, which is attached hereto as EXHIBIT E. The debtor claimed exemption
            in Schedule C on the property in the amount of $25,150.00.
   11.      Upon information and belief, the encumbrances on the property listed in the schedules or
            otherwise known, including but not limited to the encumbrances granted to Movant, listed in
            order of priority are: (I) Movant ($135,592.12); (II) Abington Township ($2,212.00); (III)
            Barclays Bank Delaware ($6,968.42); (IV) Calvary SPV I LLC ($1,165.61) and (V) Tax Claim
            Bureau ($11,070.31). There is no or inconsequential equity in the property.
    12.         The amount of the next monthly payment of the Debtor(s) under the terms of the Note and
                Mortgage is $496.85 and will come due on May 24, 2022.
    13.         If the debtor has been negatively impacted by COVID-19, the debtor may contact
                Wells Fargo Home Mortgage to discuss a personalized solution at 1-800-274-7025.
                Written attorney consent may be required to speak directly with the debtor about these
                options.
   14.      Cause exists for relief from the automatic stay for the following reasons:
            a. Movant’s interest in the property is not adequately protected.
            b. Post confirmation payments required by the confirmed plan or proposed plan have not been
               made to Movant.
            c. Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor(s) has/have no equity in the Property; and
               pursuant to § 362(d)(2)(B), the Property is not necessary for an effective reorganization.

         WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay and
         granting the following:
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      1.   Relief from the stay for all purposes allowed by the Note, the Mortgage, and applicable law, including
           but not limited to allowing Movant (and any successors or assigns) to proceed under applicable non-
           bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the property.
      2.   That the Order be binding and effective despite any conversion of this bankruptcy case to a case under
           any other chapter of Title 11 of the United States Code.
      3.   That the 14 Day Stay described by Bankruptcy Rule 4001(a)(3) be waived.
      4.   For such other relief as the Court deems proper.
      5.   Movant further requests that upon entry of an order granting relief from stay, it be exempted from further
           compliance with Fed. Rule Bankr. P. 3002.1 in the instant bankruptcy case.


   Date: May 26, 2022                                             /s/ Jill Manuel-Coughlin, Esquire
                                                                  POWERS KIRN, LLC
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